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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 IN RE OUTPATIENT MEDICAL                             Civil Action No. 1:21-cv-00305
 CENTER EMPLOYEE ANTITRUST
 LITIGATION
                                                      Honorable Andrea R. Wood




                    Defendant Hayek’s Limited Joinder of Co-Defendants’
              Motion to Dismiss for Failure to State a Claim and Lack of Standing

         Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant Andrew

Hayek (“Hayek”), by and through undersigned counsel, respectfully moves this Court for an order

dismissing the Consolidated Amended Class Action Complaint (“Complaint”) (ECF 57) for failure

to state a claim upon which relief can be granted. In support of his motion, Hayek joins—in part—

the Motion to Dismiss filed by defendants Surgical Care Affiliates, LLC, SCAI Holdings, LLC,

UnitedHealth Group Incorporated, DaVita Healthcare Partners, Inc., and Kent Thiry (“Co-

Defendants’ Motion”) (ECF 75) on the basis stated in Section II—“The Complaint Fails to Plead

an Overarching Conspiracy”—of the Memorandum in Support of Motion to Dismiss (“Co-

Defendants’ Memorandum”) (ECF 76, pp. 15-18). In support of his motion, Hayek states as

follows:

    1. On August 9, 2021, plaintiffs Scott Keech and Allen Spradling filed their Complaint

         naming as defendants Andrew Hayek and nine other entities and persons.

    2. Plaintiffs allege a single “overarching conspiracy” between and among all defendants. See

         Complaint, ¶ 114.




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    3. For the reasons stated in Co-Defendants’ Motion and Memorandum, Plaintiffs’ Complaint

         fails to state a claim based on the alleged “overarching conspiracy” that they plead.

Hayek takes no position on the other sections of the Co-Defendants’ Memorandum and reserves

all rights.

              WHEREFORE, for the reasons stated herein and in Co-Defendants’ Memorandum

(Section II), Defendant Andrew Hayek respectfully requests that this Court dismiss the Complaint

and seeks any and all further relief deemed to be just and equitable.



 Dated: October 18, 2021                              Respectfully submitted,

                                                      /s/ Jeffrey C. Bank

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 18, 2021, a true and correct copy of the foregoing document

was electronically filed with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.

                                                        /s/ Brian J. Smith

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